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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: April 22, 2024



 ________________________________________________________________



                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION



     In re                                                Case No.: 2:23-bk-53043

                                                          Chapter 11
     WELCOME GROUP 2, LLC, et al.1
                                                          Judge Mina Nami Khorrami
                                   Debtors.
                                                          Jointly Administered




      SCHEDULING ORDER UPON THE MOTION OF HILTON FRANCHISE HOLDING
               LLC FOR RELIEF FROM AUTOMATIC STAY (Doc. 166)

             This matter came before the Court for hearing on March 27, 2024 (the “Preliminary

 Hearing”) on the Motion of Hilton Franchise Holding LLC for Relief from the Automatic Stay

 (ECF No. 166, the “Motion”) and the Objection of Hilliard Hotels, LLC to Hilton Franchise


 1
  This case is jointly administered with In re Dayton Hotels LLC, Case Number 2:23-bk-53044 and In re Hilliard
 Hotels, LLC, Case Number 2:23-bk-53045. This Motion relates to the case of In re Hilliard Hotels, LLC.


                                                      1
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 Holding LLC’s Motion for Relief from Automatic Stay (ECF No. 191, the “Objection”). The Court

 having reviewed the Motion, the certification of Shruti Buckley in support of the Motion, and the

 Objection, the statement of Abhijit Vasani in support of the Objection; and upon consideration of

 the statements of counsel at the Preliminary Hearing, and it is further appearing that good cause

 exists for the entry of this Scheduling Order on the terms and conditions set forth herein; it is

 therefore

          ORDERED, that

          1.     The automatic stay will continue until a decision on the Motion is reached by the

 Court.

          2.     The Court will withhold its decision on the Motion pending the completion of the

 briefing, discovery and final hearing as set forth below:



                 i.      On or before May 13, 2024, Hilton and Hillard shall file and serve briefs on

 the issue of whether the actual or hypothetical test applies to the assumption of the Franchise

 Agreement in this proceeding.

                 ii.     Hilliard and Hilton shall have sixty (60) days after the Court issues its

 decision on the matter to be briefed in subparagraph (i) to conduct and conclude discovery on any

 factual or legal issue raised in Motion or Objection prior to the final hearing on the Motion.



          IT IS SO ORDERED.

          Copies to: Default List.




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